             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:17-cr-00082-MR-DLH


UNITED STATES OF AMERICA,        )
                                 )
                     Plaintiff,  )
                                 )
          vs.                    )                  ORDER
                                 )
(2) TIMOTHY RAY TAYLOR,          )
(9) ILYA DOSTANOV,               )
(10) IEVGENII REINT,             )
(11) SHAUL LEVY,                 )
(12) YANA PELTZ,                 )
                                 )
                     DefendantS. )
________________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 172].

     Upon review of the Government’s motion,

     IT IS, THEREFORE, ORDERED that the Government’s Motion to

Dismiss [Doc. 172] is GRANTED, and the Bill of Indictment in the above-

captioned case is hereby DISMISSED WITHOUT PREJUDICE with respect

to Defendants Timothy Ray Taylor, Ilya Dostanov, Ievgenii Reint, Shaul

Levy, and Yana Peltz only.




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     IT IS FURTHER ORDERED that the arrest warrants issued in this case

with respect to Ilya Dostanov, Ievgenii Reint, Shaul Levy, and Yana Peltz

[Docs. 10, 11, 12, 13] are hereby WITHDRAWN and DISMISSED.

     The Clerk of Court is respectfully directed to provide copies of this

Order to the United States Attorney and the United States Marshal.

     IT IS SO ORDERED.

                               Signed: February 19, 2018




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